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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


IN RE:                                           §   CASE NO. 17-31146 (MI)
                                                 §
EMAS CHIYODA SUBSEA LIMITED,                     §   CHAPTER 11
et al.                                           §
                                                 §   (Jointly Administered)
DEBTOR IN POSSESSION                             §


              LIMITED OBJECTION OF VT HALTER MARINE, INC. TO
             DISCLOSURE STATEMENT WITH RESPECT TO THE JOINT
              CHAPTER 11 PLAN OF REORGANIZATION OF CERTAIN
            AFFILIATED DEBTORS OF EMAS CHIYODA SUBSEA LIMITED
                        (Relates to Docket Nos. 357 and 375)

       VT Halter Marine, Inc. (“VTHM”), by and through its counsel, files this Limited

Objection (“Objection”) to the Disclosure Statement with Respect to the Joint Chapter 11 Plan of

Reorganization of Certain Affiliated Debtors of EMAS Chiyoda Subsea Limited [Dkt. # 357]

and Expedited Motion of the Debtors for Entry of an Order Approving (I) Adequacy of the

Disclosure Statement and Notice of the Disclosure Statement Hearing, (II) Hearing Date to

Consider Confirmation of the Plan and Procedures for Filing Objections to the Plan, (III)

Deadlines Related to Solicitation and Confirmation, (IV) Solicitation Procedures for

Confirmation of the Plan and the Form of Various Ballots and Notices in Connection Therewith,

and (V) Voting and General Tabulation Procedures Filed by Debtor EMAS CHIYODA Subsea

Limited and certain of it affiliates [Dkt. # 375].

       In support of the Objection, VTHM states as follows:
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                                                     Objection

         1.       On May 3, 2017, VTHM filed its Proof of Claim [Claim No. 271] in the amount

of $3,304,033.36 in the bankruptcy case of EMAS Chiyoda Subsea Inc., Case No. 4:17-BK-

31139. VTHM is an unsecured creditor and party-in-interest in these cases.

         2.       The proposed disclosure statement in its current form does not provide adequate

information1 on which to make an informed judgment about the plan as required by Section

1125(a) and (b) of the Bankruptcy Code.

         3.       First, the current draft contains a number of material blanks or placeholders for

important missing information that must be added:

              • The current draft has a placeholder for the liquidation analysis of the Emerging

                  Debtors, which must show the liquidation scenario for each debtor, on a case by

                  case basis. See the Proposed Disclosure Statement, Exhibit “B” (confirming the

                  liquidation analysis is “[TO COME]”).

              • The current draft has a placeholder for the amount of funds defined as “Additional

                  Cash” in the plan and disclosure statement, which is material as it is from these

                  funds that creditors will be paid. Id., p. v.

              • The current draft has a placeholder for the estimated recovery to unsecured

                  creditors. Id., p. xvi.

              • Finally, the current draft contains no factual information to support such

                  estimates.

         1
           “Adequate information” is defined in § 1125(a)(1) of the Bankruptcy Code to mean information of a kind
and in sufficient detail, as far as is reasonably practicable in light of the nature and history of the debtor and the
condition of the debtor’s books and records, that would enable a hypothetical reasonable investor typical of the
holders of claims or interests of the relevant class to make an informed judgment about the plan.



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        4.       VTHM submits that without the foregoing information the disclosure statement

does not satisfy the adequacy of disclosure requirements of 1125. This information is material

and without it unsecured creditors cannot make an informed judgment about the plan.

        5.       Further, under the proposed plan, the bankruptcy proceedings of the Emerging

Debtors are effectively substantively consolidated for purposes the “sale” of these Emerging

Debtors or their assets through a single transaction for a single price. Id., p. v. Thereafter, from

the funds generated from this transaction, unsecured creditors of the Emerging Debtors (other

than the Thailand debtor) are paid from transaction proceeds on a collective basis as a single

class after payment of senior claims. Id., p. 33, ¶ F(11)(b).

        6.       The elements of the purchase price consist of the Additional Cash referenced

above + an amount equal to DIP Obligations + certain Assumed Liabilities. But, in addition to

the Additional Cash figure, both the amount of the outstanding DIP Obligations and the amount

of the Assumed Liabilities are also not disclosed.

        7.       As such, it is not possible for creditors to understand or evaluate for themselves

what is being paid by the buyer. VTHM submits that to comply with 1125, the disclosure

statement must contain this information.

        8.       Finally, the disclosure statement has virtually no information regarding the going

concern value of the companies being sold or, if certain assets are to be sold, the fair market

value of those assets, or any other values for these companies or assets.2




        2
           The debtors’ schedules present only asset value (not company value) and only present the book value of
these assets, which is unhelpful to this analysis.


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       9.      In short, there is inadequate disclosure as to both (a) the purchase price (that

which is to be received), and also (b) the value of what is being transferred by the debtors from

the bankruptcy estates under the proposed plan.

       10.     VTHM submits that the debtors should be required to provide all information they

have with regard to the values of the property to be transferred from the bankruptcy estates on a

case by case basis, e.g., the going concern fair market value of each of the debtors companies

and the fair market value of the assets to be sold. Cf. In re Metrocraft Publishing Services, Inc.,

39 B.R. 567, 569 (Bkrtcy. N.D. Ga. 1984). Again, without this basic information, creditors have

no basis on which to judge the proposed transaction or the merits of the proposed plan.

       11.     The disclosure statement as currently presented simply does not contain the kind

of detailed factual information that would allow creditors to independently evaluate the proposed

plan and should not be approved. See In re Civitella, 15 B.R. 206, 208 (Bkrtcy. E.D. Pa. 1981)

(“The disclosure statement does not present the parties voting on the plan with an opportunity to

independently evaluate the merits of the proponent's plan”).

       WHEREFORE, VT Halter Marine, Inc. respectfully requests (i) that this objection be

maintained; (ii) that the current draft of the proposed disclosure statement be supplemented as

identified in this Objection; and (iii) that the Court grant such other and further relief as this

Court may deem just and proper.

       Dated: May 19, 2017




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                             Respectfully submitted,

                             BUTLER SNOW LLP


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                             ATTORNEYS FOR CREDITOR, VT HALTER
                             MARINE, INC.




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                               CERTIFICATE OF SERVICE

        I hereby certify that on May 19, 2017, a true and correct copy of the foregoing Limited

Objection of VT Halter Marine, Inc. to Disclosure Statement with Respect to the Joint Chapter

11 Plan of Reorganization of Certain Affiliated Debtors of EMAS Chiyoda Subsea Limited has

been served (1) on all parties in this action who receive electronic service through the Court’s

ECF system, and (2) by overnight delivery to the following: (i) EMAS Chiyoda Subsea Inc., 825

Town & Country Lane, Suite 1500, Houston, Texas 77024, Attn: Stephen H. McGuire, Esq.; (ii)

counsel for the Debtors, Skadden, Arps, Slate, Meagher & Flom LLP, 155 N. Wacker Dr.,

Chicago, Illinois 60606, Attn: George N. Panagakis, Esq. and Justin M. Winerman, Esq. and

Porter Hedges LLP, 1000 Main Street, 36th Floor, Houston, TX 77002, Attn: John F. Higgins,

Esq. and Aaron J. Power, Esq.; (iii) counsel for Chiyoda Corporation as lender for the debtor in

possession financing, White & Case LLP, 555 S. Flower St., Suite 2700, Los Angeles, California

90071, Attn: Roberto Kampfner, Esq.; (iv) counsel for Subsea 7 S.A. as lender for the debtor in

possession financing, Freshfields Bruckhaus Deringer LLP, 601 Lexington Avenue, 31st Floor,

New York, New York 10022 Attn: Mark F. Liscio, Esq. and Scott Talmadge, Esq,; (v) the

United States Trustee, 515 Rusk Street, Suite 3516, Houston, Texas 77002; and (vi) counsel to

the Official Committee of Unsecured Creditors, Akin Gump Strauss Hauer & Feld LLP 1700

Pacific Ave., Suite 4100, Dallas, Texas, 75201-4624, Attn: Charles Gibbs, Esq.


                                            /s/ S. Ault Hootsell III
                                            S. Ault Hootsell III




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